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                 UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF CONNECTICUT
                                    )
HYBRID ATHLETICS, LLC,              )
                                    )   Case Action No. 3:17-CV-1767 (VAB)
          Plaintiff,                )
                                    )   DEFENDANTS’ RONALD L.
v.
                                    )   WILSON, II AND MATTHEW
HYLETE LLC, HYLETE, INC.,           )   PAULSON MEMORANDUM OF
RONALD L. WILSON, II, and           )   POINTS AND AUTHORITIES IN
MATTHEW PAULSON,                    )   SUPPORT OF THEIR MOTION TO
                                    )   DISMISS HYBRID ATHLETICS,
          Defendants.               )   LLC’S FIRST AMENDED
                                    )   COMPLAINT, OR, IN THE
                                    )   ALTERNATIVE, MOTION TO
                                    )   CHANGE VENUE, OR, IN THE
                                    )   FURTHER ALTERNATIVE,
                                    )   MOTION TO STRIKE PORTIONS
                                    )   OF HYBRID ATHLETICS, LLC’S
                                    )   FIRST AMENDED COMPLAINT
                                    )
                                    )
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        Defendants Ronald L. Wilson, II, an individual (“Mr. Wilson”) and Matthew

Paulson, an individual (“Mr. Paulson”) (collectively, “Defendants”), respectfully

move the Court for an order dismissing Plaintiff Hybrid Athletics, LLC’s (“HA” or

“Plaintiff”) claims against them pursuant to Rule 12(b)(2), and Rule 12(b)(6), of the

Federal Rules of Civil Procedure (“FRCP”). In the alternative, Defendants move to

transfer this case to the United States District Court for the Southern District of

California pursuant to 28 U.S.C. § 1404. In the further alternative, Defendants move

to strike portions of HA’s First Amended Complaint (“FAC”) pursuant to FRCP

Rule 12(f)(2). Defendants submit the following memorandum in support of their

motion to dismiss, or, in the alternative, motion to change venue, or, in the further

alternative, motion to strike portions of the FAC (collectively, the “Motion”).

I.        INTRODUCTION

        On its face, the FAC discloses incurable legal defects that support prompt

dismissal of all of Plaintiff’s claims against Mr. Wilson and Mr. Paulson, acting

solely as executives of Defendant Hylete, Inc. (“HYLETE”). To begin with, this

Court lacks personal jurisdiction over Mr. Wilson and Mr. Paulson as non-resident

defendants. The well-established “fiduciary shield” theory adopted by Connecticut

courts prevents an individual transacting business within the state solely as an officer

of a corporation from being subject to personal jurisdiction. Nowhere does the FAC

allege that Mr. Wilson or Mr. Paulson transacted any amount of business in



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Connecticut unrelated to their duties and obligations as executives of HYLETE, and

thus the Court lacks personal jurisdiction over them.

       Further, Plaintiff’s own allegations establish that its claims for trademark

infringement and false designation of origin and unfair competition under federal

law, its statutory claim for unfair competition, and its common law claims for

trademark infringement and unjust enrichment, are all barred by the applicable

statute of limitations.

       Plaintiff unequivocally alleges and reiterates throughout the FAC that

HYLETE’s use of the allegedly infringing marks, which Plaintiff now also contends

Defendants approved, ratified and directed, commenced openly and publicly more

than five (5) years ago in April 2012, and Plaintiff was aware of such use at that

time. (Doc. No. 92, ¶¶ 60, 61, 66, 80, 105, 172.) Because the longest applicable

statute of limitations for each of Plaintiff’s claims against Mr. Wilson and Mr.

Paulson is three years, this allegation alone establishes that each of Plaintiff’s claims

against Defendants is time-barred and must be dismissed without leave to amend.

       Plaintiff’s unfair competition claim against Defendants, by way of their

alleged direction, approval and ratification of HYLETE’s activities, also fails

because it does not allege “fraudulent conduct” by Mr. Wilson and Mr. Paulson with

specificity, as that term has been interpreted by the United States Supreme Court in

Dastar Corp. v. Twentieth Century Fox Film Corp., 539 U.S. 23, 123 S. Ct. 2041,



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156 L. Ed. 2d 18 (2003). To the extent the FAC alleges “reverse passing off” against

Defendants, the claim still cannot stand because it is preempted by the Copyright

Act, 17 U.S.C. § 301, which exclusively governs “all legal and equitable rights that

are equivalent to any of the exclusive rights within the general scope of copyright…

and come within the subject matter of copyright.” (17 U.S.C. § 301).

      Laches further bars Plaintiff’s claims against Mr. Wilson and Mr. Paulson.

Plaintiff has set forth that HA competes directly with HYLETE in the marketing and

distribution of goods to the “CrossFit community, and to those interested in fitness

in general,” and “[HYLETE]’s target consumers are the same as [HA]’s.” (Doc. No.

92, ¶ 50.) Yet, Plaintiff did nothing to prevent injury to it from such allegedly

infringing activities between April 2012 (when it claims it discovered HYLETE’s

use of its marks) and Plaintiff’s filing of the FAC against Mr. Wilson and Mr.

Paulson on September 12, 2018.

      In the event the Court is inclined to entertain any of Plaintiff’s claims against

Mr. Wilson or Mr. Paulson, despite the Court’s lack of personal jurisdiction over

Defendants, and the stringent statutory bar over Plaintiff’s claims, the Court should

transfer this matter to the United States District Court for the Southern District of

California. The Southern District is simply the more appropriate forum for the action

against these individual Defendants. Not only do the operative facts regarding Mr.

Wilson and Mr. Paulson’s conduct merely as officers of Defendant HYLETE arise



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there, the numerous witnesses who plan to testify as to Mr. Wilson and Mr. Paulson’s

honesty and good character all reside in that district.

      Lastly, and in the event the Court is not inclined to have the matter transferred

to the Southern District of California, the Court should strike portions of Plaintiff’s

FAC brought against Mr. Wilson and Mr. Paulson that are redundant, immaterial,

and scandalous. HA has set forth Mr. Wilson and Mr. Paulson’s purported annual

salary, and attempted to imply that such Defendants have damaged the “financial

outlook” of HYLETE by doing so. Yet, neither Defendants’ respective salaries, nor

HYLETE’s “financial outlook,” are relevant to any of the claims brought against

Mr. Wilson and Mr. Paulson, and are clearly being weaponized by HA to damage

Defendants’ good name and credibility as successful executives capable of raising

capital for HYLETE. (Doc. No. 92, ¶¶ 150-158.)

II.   RELEVANT FACTS ALLEGED IN THE FAC

      Plaintiff’s FAC, which the Court must accept as true for purposes of testing

its sufficiency, alleges the following relevant facts.

      Plaintiff HA is a company owned by Robert Orlando. (Doc. No. 92, at ¶ 23.)

HA offers and conducts various fitness and health services. (Id. at ¶ 20.) HA also

sells fitness apparel and fitness training equipment. (Id.) The company’s fitness

apparel bears HA’s marks. (Id. at ¶ 39.) Since 2008, HA has sold, promoted, and

continues to sell and promote its apparel bearing its marks. (Id. at ¶41.)



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      Defendants Mr. Wilson and Mr. Paulson own and operate Defendant

HYLETE, a manufacturer, distributor, and seller of athletic apparel. (Id. at ¶¶ 47,

70.) The FAC alleges that Mr. Wilson is the “front person” for HYLETE, and Mr.

Paulson is in charge of business development. (Id. at ¶¶ 67-69.) Accordingly, the

FAC contends that Mr. Wilson and Mr. Paulson exercise control over the whole

company, supervise all business aspects of HYLETE, direct all HYLETE employee

activity, and otherwise approve, ratify and direct all of HYLETE’s actions alleged

herein. (Doc. No. 92, ¶¶ 70, 74-75, 80.)

      HYLETE competes with HA, targeting the same consumers as HA because

HYLETE markets and distributes its goods to the CrossFit community and to those

interested in fitness in general. (Id. at ¶ 48.) HYLETE sells the infringing products

at physical locations and through its website www.hylete.com.         (Id. at ¶ 50.)

HYLETE has two pending federal trademark applications: Application Serial No.

85,837,045; and 87,339,360. (Id. at ¶ 51.) HYLETE is also the owner of a federal

trademark registration – Registration No. 4,318,646. (Id. at ¶ 52.) HYLETE’s mark

as represented in Application Serial No. 85,837045 and HYLETE’s registered mark

as represented in Registration No. 4,318.6464 are collectively referred to as the

“HYLETE Marks.” (Id., at ¶ 52.)

      The FAC alleges that HYLETE has extensively used the HYLETE Marks,

and other marks since at least April 2012. (Doc. No. 92, ¶ 60.) In April 2012,



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Plaintiff alleges it discovered HYLETE’s plans to promote, advertise, distribute,

offer for sale, and sell clothing and apparel bearing the HYLETE Marks. (Doc. No.

92, at ¶ 61.) Plaintiff further alleges that it “immediately” contacted HYLETE and

objected to HYLETE’s use of the marks because those marks were confusingly

similar to the HA marks. (Id. at ¶ 62.) In spite of the objections, HYLETE continued

to use the HYLETE marks. (Id. at ¶ 63.)

       To date, HYLETE continues to use the HYLETE Marks. (Id. at ¶70.) Since

HYLETE’s formation in 2012, there have been “multiple instances of actual

confusion” between HYLETE’s marks and HA’ marks. (Id. at ¶73.) The FAC

alleges that Mr. Wilson and Mr. Paulson are the “principal architects” of HYLETE’s

infringement, and, therefore, are personally liable for HYLETE’s infringing activity.

(Id. at ¶78, 80.)

       Notwithstanding HYLETE’s general denial of all such allegations pertinent

to it, Mr. Wilson and Mr. Paulson explicitly dispute all of the allegations made

against them in the FAC. Mr. Wilson and Mr. Paulson merely recite such allegations

here to demonstrate the invalidity of Plaintiff’s claims.

III.   ARGUMENT

       A.     All Of Plaintiff’s Claims Against Defendants Are Barred Because
              This Court Lacks Personal Jurisdiction Over Defendants

       Plaintiff’s claims against Mr. Wilson and Mr. Paulson are barred because this

Court lacks personal jurisdiction over such Defendants.


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      A court must dismiss an action brought against a defendant if such court lacks

personal jurisdiction over such defendant. (FRCP Rule 12(b)(2); see also Golodner

v. Women’s Center of Southeastern Connecticut, Inc., 281 Conn. 819, 825 (2007)

(“Because a lack of personal jurisdiction may be waived by the defendant, the rules

of practice require the defendant to challenge that jurisdiction by a motion to

dismiss.”).) If the defendant challenging the court’s jurisdiction is a nonresident

individual defendant, the plaintiff ultimately bears the burden of establishing

personal jurisdiction over the defendant via Conn. Gen. Stat. § 52-59b(a). (Cogswell

v. American Transit Ins. Co., 282 Conn. 505, 515 (2007). However, Connecticut

courts regularly apply a “fiduciary shield” theory, which prevents this Court from

asserting personal jurisdiction over non-resident individual defendants who transact

business solely as an officer of a corporation. (United States v. Montreal Trust Co.,

358 F.2d 239, 243 (2d Cir. 1966); Milne v. Catuogno Court Reporting Servs., Inc.,

239 F. Supp.2d 195, 2013 (D. Conn. 2002); Bross Utilities Serv. Corp. v.

Aboubshait, 489 F. Supp. 1366, 1373-74 (D. Conn. 1980).

      Here, this Court lacks personal jurisdiction over Mr. Wilson and Mr. Paulson

individual because Plaintiff has failed to allege any facts to establish that either has

engaged in any independent, individual conduct within the state or otherwise. The

only applicable allegations in the FAC that purport to establish personal jurisdiction

over Defendants are that Defendants, through HYLETE, sold goods to consumers



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in Connecticut via the HYLETE website, and “committed acts of…infringement in

Connecticut” by delivering goods to consumers in Connecticut. (Doc. No. 92, ¶¶

17-18.) Neither allegation, nor the remaining duplicative allegations in the FAC

regarding the amount of control Defendants purportedly exercised over HYLETE,

establish any business transactions in the State of Connecticut that Mr. Wilson or

Mr. Paulson engaged in personally, and independent of HYLETE.

      Accordingly, this Court does not have personal jurisdiction over Mr. Wilson

or Mr. Paulson individually, and each of the causes of action against them should

therefore be dismissed.

      B.     All Of Plaintiff’s Claims Against Defendants Are Barred By The
             Statute Of Limitations And / Or Other Defects

      A complaint is subject to dismissal for failure to state a claim if the allegations,

taken as true, show that the plaintiff is not entitled to the relief sought. (See Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 557 (2007) (interpreting Rule 12(b)(6) to

require allegations that show the pleader is entitled to relief).) If, for example, the

allegations show that the statute of limitations has run, the complaint may be

dismissed under Rule 12(b)(6). (Jones v. Bock, 549 U.S. 199, 215, 127 S. Ct. 910,

920, 166 L. Ed. 2d 798 (2007); Ghartey v. St. John’s Queens Hosp., 869 F.2d 160,

162 (2d Cir. 1989).) In adjudicating a Rule 12(b)(6) motion, a district court must

accept all facts alleged in the complaint. (Crawford v. Cuomo, 796 F.3d 252, 256

(2d Cir. 2015).) However, the court need not accept conclusory statements or


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threadbare recitals of the elements of a cause of action. (Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009).)

             1.     Count I For Federal Trademark Infringement, Count II For False
                    Designation Of Origin And Unfair Competition, And Count IV
                    For Common Law Trademark Infringement Are Barred By The
                    Statute Of Limitations

      First, all of Plaintiff’s Lanham Act and common law trademark infringement

claims should be dismissed because the statute of limitations relevant to such claims

has long passed.

      The Second Circuit and other federal courts of appeal have recognized that

the Lanham Act does not have a statute of limitations, but rather borrows the statute

of limitations for the most closely analogous state law. (Conopco, Inc. v. Campbell

Soup Co., 95 F.3d 187, 193 (2d Cir.1996).) In Connecticut, the most closely

analogous law is Connecticut’s three-year statute of limitations for fraud. Argus

Research Grp., Inc. v. Argus Media, Inc., 562 F. Supp. 2d 260, 273 (D. Conn. 2008).)

Like the Lanham Act, the statute of limitations for common law trademark

infringement claims, whether based on state or federal common law, is three years.

(See CSL Silicones Inc. v. Midsun Grp. Inc., 170 F. Supp. 3d 304, 316 (D. Conn.

2016), reconsideration denied, No. 3:14-CV-01897 (CSH), 2016 WL 3566188 (D.

Conn. June 27, 2016) (noting that Connecticut courts apply the three-year statute of

limitations for fraud in trademark infringement disputes).)


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       Additionally, in Connecticut, a trademark infringement claim accrues when a

plaintiff first knows or has reason to know of the injury from which the claim arises.

(RBC Nice Bearings, Inc. v. Peer Bearing Co., 410 F. App’x 362, 366–67 (2d Cir.

2010).) A plaintiff may not successfully claim that each additional instance of

infringement, after the first known infringement, renews the limitations period. (See

id.)

       By its own admission, Plaintiff’s Lanham Act and common law trademark

infringement claims accrued at least as early as April 2012, which is well outside the

applicable three-year limitations period. Plaintiff unequivocally alleges that over

five years ago – in April 2012 – it was on notice of HYLETE’s alleged use of the

mark, and it immediately contacted HYLETE objecting to the use of the mark

because it was “confusingly similar to the [HA] Marks.” (Doc. No. 92, at ¶¶ 59-62.)

       According to Plaintiff, HYLETE’s use of the mark has also been extensive,

and resulted in multiple instances of actual confusion since HYLETE’s formation

on March 26, 2012. (Id., at ¶¶ 59, 60, 73, 110.) Further, HA competes with

HYLETE, selling products that are in proximity with HYLETE’s products in the

market place. (Id. at ¶48 (“…[HYLETE]’s target consumers are the same as

[HA]’s.”); id., at ¶73-79 (describing [HYLETE]’s use of the marks in the

marketplace which has led to confusion and has harmed Plaintiff).)

       It is therefore undisputable that Plaintiff had actual, or – at a minimum –



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constructive knowledge, of the facts giving rise to its claims by at least as early as

March 26, 2012, but in no event later than April 30, 2012. Plaintiff’s allegations

are unequivocal: (1) Plaintiff was aware of HYLETE’s alleged extensive and open

use of the HYLETE Marks at least as early as April 2012; (2) Plaintiff was aware of

ongoing instances of alleged actual confusion since around March 26, 2012; and (3)

Plaintiff sells similar products that compete with HA’s products and are sold in the

same proximity as HA’s products. New allegations regarding the extent of Mr.

Wilson and Mr. Paulson’s respective roles at HYLETE do not change the fact that

Plaintiff should have, but did not, file its complaint against Defendants on or before

April 30, 2015.

      Mr. Wilson and Mr. Paulson anticipate that Plaintiff will also argue that its

filing of the TTAB Action tolled the statute of limitations. We challenge Plaintiff

to find any authority supporting such a position, as we have found none.

      Second, all of Plaintiff’s Lanham Act and common law trademark

infringement claims should be dismissed because they fail to state a claim against

Mr. Wilson and Mr. Paulson upon which relief can be granted. Under federal

trademark law, a corporate officer may be held personally liable for the infringing

activities of a corporate defendant only if there is a showing that the corporate officer

was the “moving, active conscious force” behind the corporate defendant’s acts of

infringement. (Cartier v. Aaron Faber, Inc., 512, F. Supp.2d 165, 169 (S.D.N.Y.



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2007) (internal citations omitted).) However, “[a] pleading that offers labels and

conclusions or a formulaic recitation of the elements of a cause of action will not

do.” (Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 678 (2007) (internal citations

omitted).)

      Here, all of Plaintiff’s Lanham Act and common law trademark infringement

claims should be dismissed as to Mr. Wilson and Mr. Paulson because the FAC does

little more than parrot the legal standard for imputing HYLETE’s liability onto each

of them. Plaintiff has simply not established – by pleading facts – that such

Defendants were a “moving, active [and] conscious force” behind HYLETE’s

alleged infringement.

      As to Mr. Wilson, the only facts Plaintiff has alleged are: (a) that Mr. Wilson

flew to China to set up manufacturing arrangements for Defendant HYLETE, and

(b) that Mr. Wilson talked to “every person” who walked by the HYLETE booth at

the CrossFit Games in 2012. (Doc. No. 92, at ¶¶ 62, 65.) Such facts do little to

establish that Mr. Wilson was a “conscious force” behind infringing actions

allegedly taken by HYLETE for over five years.

      As to Mr. Paulson, Plaintiff has alleged even fewer facts, contending simply

that Mr. Paulson made the first “substantial monetary investment” of $50,000 into

Defendant HYLETE. (Id. at ¶ 79.) This alone cannot establish that Mr. Paulson was

a “conscious force” behind HYLETE’s allegedly infringing activity.



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      The remaining allegations in the FAC intended to impute corporate liability

onto Mr. Wilson and Mr. Paulson simply re-state, upon information and belief, legal

conclusions. Such insufficient allegations include:

            That Mr. Wilson was and is the “front person” for Defendant HYLETE.

            That Mr. Wilson “oversees the whole [HYLETE] Company…”

            That Defendants “own, operate, and exercise control over [HYLETE].”

            That Defendants are “moving, conscious, dominant and active forces

            behind [HYLETE]’s unlawful conduct…”

            That Defendants “direct, ratify, authorize, and approve [HYLETE]’s

            unlawful conduct…”

            That Defendants “have been the driving force” behind Defendant

            HYLETE’s allegedly infringing activities.

            That Defendants “supervise all business aspects of [HYLETE]…”

            That Defendants “intentionally direct [HYLETE] employees to sell”

            allegedly infringing goods.

            That Defendants “authorize and approve” of HYLETE’s allegedly

            infringing activities.

            And that Defendants are the “principal architects” of HYLETE’s

            allegedly infringing activities. (Id. at ¶¶ 66-75, 78.)

      Such formulaic recitations of the law, without more, do not meet requisite


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pleading standards, and Plaintiff’s Lanham Act and common law trademark

infringement claims should therefore be dismissed as to Mr. Wilson and Mr.

Paulson.

             2.     Count III For Statutory Unfair Competition Is Barred By The
                    Statute Of Limitations, Is Not Pleaded With Particularity, And Is
                    Preempted By The Copyright Act

      First, Plaintiff’s claim for unfair competition under Conn. Gen. Stat. § 42-110

(“CUTPA”) should be dismissed because it relies exclusively on the Lanham Act

claims, which all fail to survive the statute of limitations defense and laches. (Peck

v. Pub. Serv. Mut. Ins. Co., 114 F. Supp. 2d 51, 57 (D. Conn. 2000) (citing Lees v.

Middlesex Ins. Co., 229 Conn. 842, 851, 643 A.2d 1282, 1286 (1994) for the

proposition that CUTPA claims cannot survive if the underlying claim fails.) See

e.g., RBC Nice Bearings, Inc. v. Peer Bearing Co., 410 F. App’x 362, 366–67 (2d

Cir. 2010) (affirming dismissal of the plaintiff’s state law claims which relied on the

limitations-barred trademark infringement claims).) Defendants also anticipate that

Plaintiff will argue that its filing of the TTAB Action tolled the statute of limitations,

but we have found no case law supporting such a position.

      Even assuming arguendo that Plaintiff’s trademark infringement claims could

survive the limitations and laches defenses, the CUTPA claim at issue cannot survive

under prevailing law in this district. CUTPA has a statute of limitations of three

years. (Conn. Gen. Stat. § 42-110g(f); Fichera v. Mine Hill Corp., 207 Conn. 204,


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216–17, 541 A.2d 472, 477–78 (1988).) Further, CUTPA is an “occurrence” statute

meaning that the claim is ripe for adjudication at the time of the first occurrence of

an actionable wrong, not at the time the Plaintiff discovers such wrong. (Argus

Research Group v. Argus Media, 562 F. Supp. 2d 260, 280 (D. Conn. 2008).)

CUTPA claims also do not accrue at each instance of a defendant’s continuing

conduct in trademark cases. (CSL Silicones, 170 F. Supp. 3d at 314) (“CUTPA

claims sounding in trademark do not accrue as to each use of a plaintiff’s mark,

especially where the plaintiff had previous knowledge of the earlier infringement.”).)

      Here, Plaintiff’s CUTPA claim sounds in trademark. (See Doc. No. 92, ¶¶

176-177 (referring to the Lanham Act claims as the basis of the CUTPA claims); id.,

at ¶¶ 178 (alleging “palming off”); id. at ¶ 179 (alleging that HYLETE’s acts of

palming off its goods “permit and accomplish confusion, [and] mislead and deceive

the public as to the source of [HYLETE]’s goods…”).) And as set forth above,

Plaintiff was on notice of such alleged use of the HYLETE Marks by April 2012,

going as far as to “immediately” notify HYLETE of its dissatisfaction with

HYLETE’s use of the HYLETE Marks. (Doc. No. 92, at ¶¶61-62.) Yet, Plaintiff

did not bring this action until more than five years later.

      While Plaintiff might argue that each instance of Defendants’ conduct

occurring in the three years preceding suit was a separate actionable violation, such

a “separate accrual” rule does not apply to either trademark infringement claims or



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CUTPA claims based on trademark infringement. (RBC Nice Bearings, Inc., 676 F.

Supp. 2d 35 (D. Conn. 2009).) Thus, Plaintiffs CUTPA claim must be dismissed,

and no new allegations about the extent of Mr. Wilson and Mr. Paulson’s

involvement in, or control over, HYLETE changes such a determination.

      Second, Plaintiff’s CUTPA claim should be dismissed because it is not

pleaded against Mr. Wilson and Mr. Paulson with particularity. When a plaintiff

bases a CUTPA claim on fraud or fraudulent conduct, a plaintiff must satisfy the

particularity requirements of Rule 9(b) of the FRCP. (In re Trilegiant Corp., Inc.,

11 F. Supp. 3d 82,120 (D. Conn. Mar. 28, 2014); See also Aviamax Aviation Ltd. v.

Bombardier Aerospace Corp., 3:08-cv-1958(CFD), 2010 WL 1882316, at *9 (D.

Conn. May 10, 2010) (“When a plaintiff in federal court bases a CUTPA claim on

fraud allegations, the plaintiff must satisfy the particularity requirement of Federal

Rule of Civil Procedure 9(b).”).)

      Here, the entirety of Plaintiff’s CUTPA claim derives from the same

“fraudulent misrepresentation” language ambiguously pleaded without supporting

facts throughout the FAC. (See e.g., Doc. No. 92, at ¶¶178-179 (alleging “palming

off” by HYLETE); id., at ¶¶47-61 (describing Defendants’ purported infringing

activities); id., at ¶¶72-78 (describing how HYLETE’s activities have led to

confusion in the marketplace). Further, as set forth above, none of such allegations

can impute liability on Mr. Wilson or Mr. Paulson individually because Plaintiff has



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pled zero facts to establish that such Defendants were a “moving, active conscious

force” in HYLETE’s allegedly infringing activity. Accordingly, the FAC fails to

meet both the heightened pleading standards required by FRCP Rule 9(b), and the

general pleading standards required by Twombly.

      The Court should also not consider this a case of “passing off” or “palming

off.” Passing off or palming off occurs where “A” purports to sell A’s products as

“B’s” products. (Dastar Corp. v. Twentieth Century Fox Film Corp., 539 U.S. 23,

27, 123 S. Ct. 2041, 2044–45, 156 L. Ed. 2d 18 (2003).) Plaintiff does not allege

this, failing to set forth a single concrete, non-conclusory allegation to even suggest

that HYLETE, at the direction of Defendants, made any actual misrepresentation

about the source of its goods. Because Plaintiff only alleges here that HYLETE sold

HYLETE’s own products under HYLETE’s own brand in the hope of trading off of

any similarity between its marks and HA’s marks, HA has failed to state a claim for

“passing off” or “palming off” with particularity.

      Third, Plaintiff’s CUTPA claim should be dismissed even if it is based on

“reverse passing off” under section 43(a) of the Lanham Act because such claims

are preempted by the Copyright Act. (See Frontier Grp., Inc. v. Nw. Drafting &

Design, Inc., 493 F. Supp. 2d 291, 299 (D. Conn. 2007) (noting that the Copyright

Act, 17 U.S.C. § 301 preempts unfair competition and misappropriation claims

grounded in a plaintiff’s original works or expressions); A Slice of Pie Productions



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v. Wayans Bros. Entertainment, 392 F. Supp. 2d 297, 313 (D. Conn. 2005) (same);

Dastar, 539 U.S. at 37 (noting that the phrase “origin of goods” under section 43(a)

in the Lanham Act “refers to the producer of the tangible goods that are offered for

sale, and not to the author of any idea, concept, or communication embodied in those

goods.”) (emphasis added).; see also, 1 Nimmer on Copyright § 1.01(B)(1)(e) (“[If]

B is selling B’s products and representing to the public that they are A’s, that is

passing off. If by contrast, B is selling B’s products and representing to the public

that they are B’s, that is not passing off. A claim that the latter activity is actionable

[as a deceptive trade practice cause of action] because B’s product replicates A’s,

even if denominated ‘passing off,’ is in fact a disguised copyright infringement

claim, and hence preempted.”) (emphasis added).)

      Assuming that Plaintiff’s CUTPA claim is based on the theory of “reverse

passing off,” such a claim is merely a disguised copyright claim preempted by the

Copyright Act. Plaintiff does not allege any facts to establish that HYLETE sold

HYLETE’s products and claimed that they originated from Plaintiff – Plaintiff

merely labels HYLETE’s actions as palming off or passing off. Nor, again, does

Plaintiff allege any facts to establish how Defendants were a “moving, active

conscious force” in such purported palming off or passing off by HYLETE. Plaintiff

only alleges that HYLETE’s marks led to confusion in the market place and are

likely to cause further confusion as to the source of the goods sold. Accordingly,



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Plaintiff’s CUTPA claim, to the extent it is based on “reverse passing off,” comes

“within the subject matter” of the Copyright Act and is preempted.

             3.    Count V For Unjust Enrichment Is Barred By The Statute Of
                   Limitations

      Plaintiff’s unjust enrichment claim must fail because of the inescapable

defects illuminated by the statute of limitations defense. The statute of limitations

for unjust enrichment is three years for any actions sounding in tort. (Conn. Gen.

Stat. § 52-577. See Certain Underwriters at Lloyd’s, London v. Cooperman, 957

A.2d 836, 850 (Conn. 2008) (unjust enrichment claims based on the same allegations

as other tort claims are subject to the same three-year statute of limitations).)

Because Plaintiff simply reiterates the same substance of its earlier allegations,

Plaintiff’s common law unjust enrichment claim flows from the same conduct

alleged in its trademark infringement and related claims, and Plaintiff’s common law

unjust enrichment claim is therefore statutorily time barred.

      C.     All Of Plaintiff’s Claims Against Defendants Are Barred By The
             Doctrine Of Laches

      Each and every one of Plaintiffs claims in the FAC should be barred by the

doctrine of laches because Plaintiff has not promptly sought legal redress of its

alleged wrongs.

      To prove laches in the trademark infringement context, a defendant must

prove that the plaintiff had knowledge of defendant’s use of its marks, the plaintiff


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delayed in bringing an action for infringement, and that permitting the plaintiff to

assert its rights so late in time would cause unfair prejudice. (Saratoga Vichy Spring

Co., Inc. v. Lehman, 625 F.2d 1037, 1040 (2d Cir. 1980).) When the applicable

statute of limitations has passed, the presumption of laches applies and a plaintiff

seeking legal redress must rebut that presumption. (Conopco, Inc. v. Campbell Soup

Co., 95 F.3d 187, 191 (2d Cir. 1996).) While not a complete bar to recovery for a

properly instituted claim in all instances, a successful laches defense bars recovery

of damages accrued prior to filing suit. (A.C. Aukerman Co. v. R.L. Chaides Constr.

Co., 960 F.2d 1020, 1028 (Fed. Cir. 1992).)

      Here, Plaintiff’s own allegations show that it had knowledge of HYLETE’s

alleged use of the purportedly infringing marks, as early as April 2012. Because

Connecticut’s three-year statute for fraud actions applies, the presumption of laches

applies. Plaintiff waited five years to bring this case against Mr. Wilson and Mr.

Paulson as executives of HYLETE – lying in wait as HYLETE devoted more and

more resources to developing its branded products, and earning consumer goodwill.

(RBC Nice Bearings, Inc. v. Peer Bearing Co., 410 Fed. Appx. 362, 367 (2d Cir.

2010).)

      Plaintiff cannot reasonably offer any evidence rebutting the presumption of

its unreasonable delay of more than five years before filing suit.        Defendants

anticipate that Plaintiff will argue that Mr. Wilson and Mr. Paulson’s respective



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actions as alleged in the FAC amount to “intentional infringement,” preventing

Defendants from asserting the laches defense on the basis of their “unclean hands.”

The “intentional infringement” required for an unclean hands finding, though, is an

“intention to confuse” and a lack of “good faith.”        (Harley-Davidson, Inc. v.

Grottanelli, 164 F.3d 806, 813 (2d Cir. 1999).) And bare legal conclusions of such

an intent to confuse, or lack of good faith, will not suffice. (See Smith v. Local 819

I.B.T. Pension Plan, 291 F.3d 236, 240 (2d Cir.2002) (“[C]onclusory allegations or

legal conclusions masquerading as factual conclusions will not suffice to prevent a

motion to dismiss” from being granted).)

      None of the allegations contained in the FAC demonstrate that Defendants

had an intention to confuse or lacked good faith. The handful of allegations that

Defendants “intentionally directed” HYLETE employees to sell confusingly similar

goods, “intentionally designed” the HYLETE Marks, and “intentionally sought to

trade off of [HA]’s Marks” amount to bare legal conclusions that cannot survive a

Motion to Strike. (Doc. No. 92, ¶¶ 75, 125, 147.)

      In fact to the contrary, Exhibit “4” to the FAC demonstrates Defendants’ good

faith belief that they were not infringing Plaintiff’s mark. (Doc. No. 92-4, pg. 3-8

(Matt Paulson explaining to Rob Orlando why he believed the HYLETE logo mark

was not confusingly similar to the HA logo mark, and later providing Mr. Orlando

with a “tech pack” displaying how products bearing both the HYLETE and HA



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marks could be co-branded and sold).) If Mr. Wilson “intentionally sought to trade

off of [HA]’s Marks” then why would he direct Mr. Paulson to send Mr. Orlando a

proposal showing how both marks could be co-branded and sold on clothing

together? Plaintiff has no answer because there are no facts to demonstrate unclean

hands here.

      Accordingly, Counts I though V are barred by the doctrine of laches and

should be dismissed as to Mr. Wilson and Mr. Paulson. If the Court is not inclined

to dismiss such claims in their entirety based on the doctrine of laches, Plaintiff’s

damages should at least be limited to those damages that have accrued after the date

Plaintiff filed the FAC

      D.      In The Alternative, This Court Should Transfer Venue To The
              Southern District Of California

      The propriety of a forum is a threshold matter that federal courts must consider

before addressing the merits of an action. (Adam v. Jacobs, 950 F.2d 89, 92 (2d Cir.

1991).) 28 U.S.C. § 1404(a) provides that “[f]or the convenience of parties and

witnesses, in the interest of justice, a district court may transfer any civil action to

any other district or division where it might have been brought or to any district or

division to which all parties have consented.” (28 U.S.C. § 1404(a).)

      The district court has broad discretion to transfer an action, and may consider

factors such as: (1) the plaintiff’s choice of forum, (2) the convenience of witnesses,

(3) the location of relevant documents and relative ease of access to sources of proof,


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(4) the convenience of parties, (5) the locus of operative facts, (6) the availability of

process to compel the attendance of unwilling witnesses, [and] (7) the relative means

of the parties. (D.H. Blair & Co. v. Gottdiener, 462 F.3d 95, 106-07 (2d Cir. 2006).)

Courts also consider: (8) the forum’s familiarity with the governing law; and (9)

whether trial efficiency and the interests of justice would be best served in light of

the totality of the circumstances. Because none of these factors is dispositive, this

Court has broad discretion on whether to permit transfer.

             1.     This Action Could Have Been Brought In The Southern District
                    Of California.

      In the absence of a forum selection clause, such as here, a district court must

address the threshold issue of whether a case could have been brought in the

transferee forum. (Rest. Supply, LLC v. Pride Mktg. & Procurement, Inc., No. 3-16-

CV-1270 (MPS), 2017 WL 3444677, at *3 (D. Conn. Aug. 10, 2017).) Here, this

predominantly federal trademark infringement case could have been brought in the

Southern District of California – where Mr. Wilson and Mr. Paulson both worked

and direct the operations of Defendant HYLETE.

      Accordingly, this threshold inquiry has been met, and as addressed below, the

other factors favor transferring this action to the Southern District of California.

             2.     Transfer Is Appropriate Because Plaintiff’s Choice Of Forum Is
                    Of Little Weight



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      While given great weight ordinarily, “[a] plaintiff’s choice of forum receives

less deference … when the locus of operative facts is elsewhere.” Open Solutions

Inc. v. Granite Credit Union, No. 3:12-CV-1353 RNC, 2013 WL 5435105, at *4 (D.

Conn. Sept. 29, 2013). Here, Plaintiff chose to bring suit in its home court, the

District Court of Connecticut – miles away from where Mr. Wilson and Mr. Paulson

live and work. But as the facts alleged in the FAC demonstrate, the locus of

operative facts occurred squarely within the Southern District of California, and this

factor, therefore, holds little weight.

             3.     Transfer Is Appropriate Because The Locus Of Operative Facts
                    Is In The Southern District Of California

      Where the locus of operative facts occurred is a very important factor in a

transfer analysis. (Charter Oak Fire Ins. Co. v. Broan-Nutone, LLC, 294 F. Supp.

2d 218, 220 (D. Conn. 2003).) To determine such locus, the court must look to the

site of the events from which the claim arises. (Id.) In trademark infringement cases,

the locus of operative facts is where the misrepresentations or omissions occurred,

not where they were received. (MAK Marketing, Inc. v. Kalapos, 620 F. Supp. 2d

295 (D. Conn. 2009). See e.g., 800-Flowers, Inc. v. Intercontinental Florist, Inc.,

860 F. Supp. 128, 135 (S.D.N.Y. 1994) (passing off occurred where

misrepresentations were made, not where confused customers called from).)




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      Most importantly, the alleged locus of facts purporting to support Plaintiff’s

contention that Mr. Wilson and Mr. Paulson exercised enough control and direction

over HYLETE’s infringing activities to be held personally liable all occurred in the

Southern District of California. In fact, Plaintiff does not specifically allege a single

operative fact that occurred in Connecticut. Additionally, the alleged locus of facts

purporting to support HYLETE’s allegedly infringing activities occurred in the

Southern District of California.

      Accordingly, this factor weighs heavily in favor of transfer.

             4.     The Convenience Of Witnesses Who Will Be Required To Offer
                    Testimony Favors Transfer

      The convenience of the witnesses is “[t]he single most important factor” in a

§ 1404(a) motion to transfer. (See Sutton v. Rehtmeyer Design Co., 114 F. Supp.2d

46, 50 (D. Conn. 2000).) Both Mr. Wilson and Mr. Paulson intend to produce

character witnesses from in or near the Southern District of California, who will

testify to Defendants’ personal honesty and good character in defense of Plaintiff’s

contention that such Defendants engaged in deceptive and intentionally infringing

conduct. Defendants also intend to produce character witnesses from in or near the

Southern District of California, who will testify to Defendants’ corporate integrity

and professionalism in defense of Plaintiff’s implication that Defendants took large

salaries to the financial detriment of Defendant HYLETE.               Further, former



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employees of HYLETE who are named in the FAC and are therefore expected

witnesses, such as Jenn Null and Garrett Potter, reside in California.

      Conversely, Plaintiff’s only expected witness at this point is its only principal

and employee, Rob Orlando. (See Doc. No. 92, at ¶23 (“[HA] is owned and operated

by Mr. Orlando. Mr. Orlando is responsible for all aspects of the business, including

advertising, sales, and finances.”)

      Accordingly, this factor also weighs heavily in favor of transfer.

             5.     The Location Of Documents And Ease Of Access To Proof
                    Favors Transfer

      Similarly, because both Mr. Wilson and Mr. Paulson work for HYLETE,

which conducts its business in California, the bulk of the documents and evidence is

reasonably expected to be in the Southern District of California. (See e.g., Rest.

Supply, LLC v. Pride Mktg. & Procurement, Inc., No. 3-16-CV-1270 (MPS), 2017

WL 3444677, at *5 (D. Conn. Aug. 10, 2017) (business records presumably in

defendant’s forum state).) In infringement cases especially, the bulk of evidence

comes from the accused infringer – which is HYLETE. Plaintiff has already sought

copious documents pertaining to HYLETE’s marketing and sales of allegedly

infringing goods, which reside with HYLETE in California. And Defendants expect

that Plaintiff will now seek further documents pertaining to Mr. Wilson and Mr.

Paulson’s control over HYLETE’s operations, which reside with HYLETE in



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California.


       Accordingly, this factor weighs in favor of transfer.

              6.     The Transferee Court’s Familiarity With The Governing Law
                     Favors Transfer

       “Federal courts are accustomed in diversity actions to applying laws foreign

to the law of their particular State.” (Pitney Bowes, Inc. v. Nat’l Presort, Inc., 33 F.

Supp.2d 130, 132 (D. Conn. 1998).) This case is fundamentally based on a claim

for federal trademark infringement. Like other federal courts, the Southern District

of California is as equipped as this Court to adjudicate this matter.

       Thus, this factor weighs in favor of transfer.

              7.     The Relative Means Of The Parties Favors Transfer

       Where litigating in a foreign state may adversely affect one party, the court

may transfer or retain the matter based on the financial means of the parties. Here,

Mr. Wilson and Mr. Paulson are both individuals without a large “war chest” that

businesses, such as Plaintiff, possess. And while Plaintiff will predictably argue that

Mr. Wilson and Mr. Paulson each receive a large salary from HYLETE, what

Plaintiff has left out of its pleadings is the fact that both Mr. Wilson and Mr. Paulson

have either deferred a substantial portion of that yearly salary, or taken it in the form

of stock options. Plaintiff, on the other hand, is not of limited means and can afford

litigating in California.


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      Accordingly, this factor weighs in favor of transfer.

             8.    The Availability Of Process To Compel Unwilling Non-Party
                   Witnesses Favors Transfer

      The FAC identifies at least two individuals, who are no longer employees of

either JACO (the company where Mr. Wilson, Mr. Paulson, and other early

employees of HYLETE worked prior) or HYLETE but are nevertheless expected to

be witnesses – Jenn Null and Garrett Potter. Additionally, and as set forth at length

above, both Mr. Wilson and Mr. Paulson intend to put forth numerous character

witnesses. None of these potential witnesses, however, are identified as party

witnesses, and therefore, the Court may need to compel such witnesses to testify.

Because all of such unwilling witnesses reside in or near the Southern District of

California, and allegedly engaged in relevant conduct in the Southern District of

California, the Court in that venue is the better venue to compel any such witness

appearances pursuant to FRCP Rule 45(c).

      Accordingly, this factor weighs in favor of transfer.

      In light of all such factors, the totality of the circumstances indicate that the

United States District Court for the Southern District of California would be an

appropriate venue to resolve this matter.




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      E.    In The Further Alternative, This Court Should Strike Portions Of
            The FAC That Are Redundant, Immaterial, Impertinent And/Or
            Scandalous

      Many of the allegations levied against Mr. Wilson and Mr. Paulson in the

FAC should be stricken pursuant to FRCP Rule 12(f)(2). This Court may, on motion

made by a party to the pertinent pleading, strike from such pleading any matter that

is redundant, immaterial, impertinent, or scandalous. (FRCP Rule 12(f)(2).) Even

though the Second Circuit has cautioned that “courts should not tamper with the

pleadings unless there is strong reason for doing so,” Lipsky v. Commonwealth

United Corp., 551 F.2d 887, 893 (2d Cir. 1976), “allegations may be stricken if they

have no real bearing on the case, will likely prejudice the movant, or…have criminal

overtones” G-I Holdings, Inc. v. Baron & Budd, 238 F. Supp.2d 521, 555 (S.D.N.Y.

2002). As set forth below, much of Plaintiff’s allegations directed at Mr. Wilson

and Mr. Paulson fall under the category of being either immaterial and scandalous,

or redundant.

      First, and most importantly, the Court should strike allegations 150-158

because they are immaterial to Plaintiff’s trademark infringement complaint.

Plaintiff has dedicated nine paragraphs in the FAC to HYLETE’s “financial

outlook,” as well as Mr. Wilson’s and Mr. Paulson’s salaries, even though none of

those allegations have any bearing on this trademark dispute. Such allegations also

have nothing to do with any of the non-trademark claims that depend on HA’s



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trademark infringement claims, or any of the damages that HA claims it has incurred.

      This is a trademark infringement matter, not a shareholder dispute.

Accordingly, whether HYLETE raised capital, experienced losses, decreased cash

reserves, or increased inventory is immaterial.         The salaries of HYLETE’s

executives are also immaterial and unimportant, and have been brought by Plaintiff

in bad faith for an ulterior purpose.

      In reality, Plaintiff brought these allegations solely to gain leverage, and cause

scandal upon Mr. Wilson and Mr. Paulson as executives of HYLETE. Plaintiff

knows that HYLETE’s success largely results from Mr. Wilson’s proven ability as

CEO to raise substantial capital (as Plaintiff sets forth in paragraphs 150-151 of the

FAC). Plaintiff has broadcast Defendants’ salaries, along with language intended to

create the implication that taking such salaries somehow creates a “worsening

financial outlook” for HYLETE, solely to damage Mr. Wilson’s reputation and

ability to successfully raise capital for HYLETE in the future. Plaintiff hopes that

Defendants will be forced to settle this matter when the capital HYLETE has already

raised runs out, and the sources of additional capital that Mr. Wilson has access to

refuse to further lend on the basis of Mr. Wilson’s damaged professional reputation.

      The Court should especially strike these allegations because they serve no

purpose other than to create resentment against Defendants and HYLETE. (See e.g.,

Prout v. Vladeck, 2018 WL 3853990, at *2 (S.D.N.Y. Aug. 14, 2018) (striking



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allegations regarding “lack of integrity” that served no purpose other than to build

resentment against the relevant party).) A reader or juror who encounters allegations

concerning the amount of capital HYLETE has raised, and the amount of expenses

it incurs, without any context about HYLETE’s run-rate or capital expenditure

strategies could easily believe that HYLETE is being fiscally irresponsible. A reader

or juror who encounters allegations concerning the level of salary each Defendant

takes, without any context about how much of each such salary each Defendant

defers or takes in stock options, could easily believe that Defendants are powerful

millionaires who could care less about the survival of HYLETE. None of such

conclusions would be true or accurate, but all of such potential conclusions would

create resentment against Defendants.

      Additionally, such allegations would unfairly increase the scope of discovery

regarding issues wholly immaterial to this case – all at the expense of Mr. Wilson

and Mr. Paulson individually.      A motion to strike should be granted where

allegations “would increase the duration and expense of trial,” and the party affected

by such allegations “would incur increased discovery costs” to explore the tenuous

factual basis for such allegations. (Coach, Inc. v. Kmart Corps., 756 F. Supp.2d 421,

428 (S.D.N.Y. 2010); see e.g., GEOMC Co. v. Calmare Therapeutics, Inc., No. 3:14-

CV-01222 (VAB), 2016 WL 6122930, at *6 (D. Conn. Oct. 19, 2016) (striking

additional matter that would expand the scope of discovery and increase the cost of



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litigation).)

       Second, the Court should strike Plaintiff’s redundant allegations against Mr.

Wilson and Mr. Paulson regarding the level of control each exerts over HYLETE’s

allegedly infringing activities.   “When a complaint does not comply with the

requirement that it be short and plain, the court has the power, on its own initiative

or in response to a motion by the defendant, to strike any portions that are redundant

or immaterial.” (Salahuddin v. Cuomo, 861 F.2d 40, 42 (2d Cir. 1988).) As set forth

in detail above, at least twelve allegations contained between paragraphs 66 and 80

of the FAC simply re-state, in different terminology, conclusory language in

paragraph 71 intended to establish that Mr. Wilson and Mr. Paulson were the

“moving, conscious, dominant and active force” behind HYLETE’s allegedly

infringing activity. Notwithstanding Defendants’ prior contention herein that such

a “magic word” allegation amounts to a mere formulaic recitation of the required

legal standard, paragraphs 66-70, 72-78, and 80-81 simply parrot that allegation, and

should be stricken.

       Accordingly, the Court should strike the allegations in paragraph 150-158

because they are immaterial to the dispute, and are scandalous and highly prejudicial

to Defendants. The Court should also strike the allegations contained in paragraphs

66-68, 70, 72-75, 77-78 and 80 on the basis that they are redundant, highly-formulaic

recitations of a legal standard that do not add any substance to HA’s claims. If this



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Court is nevertheless inclined to allow any of such allegations to remain, however,

it should compel Plaintiff to substantively justify the need for every such allegation.

IV.   CONCLUSION

      Plaintiff cannot offer a plausible argument to avoid a dismissal on the basis

that the Court lacks personal jurisdiction over Defendants, or on the basis that the

statute of limitations applies to its trademark infringement, false designation of

origin, and unfair competition claims.       And because the remaining claims are

predicated on the survivability of those claims, this Court must conclude that

dismissal of all causes of action is proper and warranted. In the event that the statute

of limitations is not a complete bar to Plaintiff’s claims, however, such claims should

be dismissed pursuant to the principal of laches, or, at the very least, limited to

seeking damages that have accrued only after Plaintiff filed the FAC. If the Court

is inclined to allow Plaintiff’s late filed claims to proceed, the Court should, in the

alternative, transfer this matter to the Southern District of California, where the locus

of operative facts relevant to Mr. Wilson and Mr. Paulson reside. If the Court is

inclined to keep the matter within its jurisdiction, then the Court should, in the

further alternative, strike certain identified allegations contained in the FAC that are

redundant, or immaterial and scandalous.




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                                   Respectfully Submitted,


                                   Ronald L. Wilson, II and Matthew Paulson


Date: October 10, 2018             By: /s/ Thomas J. Mango         .
                                   Thomas J. Mango, ct28149
                                   Michael J. Rye, ct18354
                                   Cantor Colburn LLP
                                   20 Church Street, 22nd Floor
                                   Hartford, Connecticut 06103
                                   Telephone: (860) 286-2929
                                   Facsimile: (860) 286-0115
                                   Email: tmango@cantorcolburn.com
                                           mrye@cantorcolburn.com

                                   Of Counsel,
                                   Pro Hac Vice Admission Pending

                                   John M. Begakis, Esq., SBN 278681
                                   AltView Law Group, LLP
                                   12100 Wilshire Blvd., Suite 800
                                   Los Angeles, CA 90025
                                   Telephone: (310) 230-5580
                                   Fax: (310) 943-2540
                                   Email: john@altviewlawgroup.com

                                   Attorneys for the Defendants




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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 10, 2018 a copy of the foregoing document

was filed electronically and served by mail on anyone unable to accept electronic

filing. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system or by mail to anyone unable to accept electronic

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                                                 /s/ Thomas J. Mango            .
                                                   Thomas J. Mango




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